                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

   UNITED STATES OF AMERICA                       )
                                                  )        Case No. 4:20-cr-4
   v.                                             )
                                                  )        Judge Travis R. McDonough
   SAVANNA BROOKE MCLEMORE                        )
                                                  )        Magistrate Judge Christopher H. Steger
                                                  )


                                               ORDER



           U.S. Magistrate Judge Christopher H. Steger filed a report and recommendation (Doc. 115)

  recommending that the Court: (1) grant Defendant’s motion to withdraw her not guilty plea to

  Count One (lesser included offense) of the four count Indictment; (2) accept Defendant’s guilty

  plea to Count One (lesser included offense) of the four count Indictment; (3) adjudicate Defendant

  guilty of conspiracy to distribute 50 grams or more of a mixture and substance containing a

  detectable amount of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and

  846; and (4) order that Defendant remain in custody until sentencing in this matter or further order

  of this Court.

           Neither party filed a timely objection to the report and recommendation. After reviewing

  the record, the Court agrees with Magistrate Judge Steger’s report and recommendation.

  Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

  recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        1. Defendant’s motion to withdraw her not guilty plea to Count One (lesser included offense)

           of the four count Indictment is GRANTED;




Case 4:20-cr-00004-TRM-CHS Document 121 Filed 09/22/20 Page 1 of 2 PageID #: 487
     2. Defendant’s plea of guilty to Count One (lesser included offense) of the four count

        Indictment is ACCEPTED;

     3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute 50 grams or more of

        a mixture and substance containing a detectable amount of methamphetamine in violation

        of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B) and 846; and

     4. Defendant SHALL REMAIN in custody until sentencing in this matter, which is

        scheduled to take place on January 15, 2021, at 9:00 a.m. before the undersigned.

        SO ORDERED.


                                            /s/Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




                                     2
Case 4:20-cr-00004-TRM-CHS Document 121 Filed 09/22/20 Page 2 of 2 PageID #: 488
